
TüRley, J.
delivered the opinion of the court.
The plaintiff in error delivered the defendant three mules, which he was to take to the southern market, and sell for the best price that could be obtained, and return the nett proceeds thereof. The defendant carried the mules to the State of Georgia, and there sold them upon a credit, a,nd the purchaser proving insolvent, the purchase money has been entirely lost.
There is no pretence that the defendant, in making the sale, did not act in perfect good faith; but it is contended that he had no authority to sell upon a credit, and must, therefore, be held individually responsible for the value of the mules.
To this argument we cannot give our consent. Upon principle and authority, the defendant was vested with a discretionary power to sell upon the best terms that could be procured, according to the course of trade, in the section of country to which the mules were carried. This the proof shows to have been upon a credit, as that description of property could not be otherwise sold for any thing approaching a fair price.
There has been no abuse of trust on the part of the defendant; he has acted in good faith, and the loss sustained has not been the result of his neglect, and it would be severe justice to hold him responsible. See Story on Agency, 198: Chitty on Contracts, 199: John. Rep. 69, 72.
The judgment of the Circuit Court is, therefore, affirmed.
